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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE: NATIONAL FOOTBALL                          Case No. 12-md-2323 (AB)
 LEAGUE PLAYERS’ CONCUSSION
 INJURY LITIGATION                                 MDL No. 2323

 Kevin Turner and Shawn Wooden,                    Hon. Anita B. Brody
 on behalf of themselves and others
 similarly situated,

            Plaintiffs,

 National Football League and
 NFL Properties LLC,
 successor-in-interest to NFL Properties,
 Inc.,

            Defendants.


 THIS DOCUMENT RELATES TO:
 ALL ACTIONS


              X1LAW, P.A.’S MOTION REQUESTING THAT THE COURT
                    RECONSIDER ITS ORDER [ECF NO. 10370]

       X1Law, P.A., on behalf of its clients who are Retired NFL Players and Claimants affected

by the Order (“Movants”), respectfully submits this Motion Requesting that the Court Reconsider

its Order (the “Motion for Reconsideration”) [ECF No. 10370], and states the following in support:

       Nature of this Motion for Reconsideration

       1.      On January 9, 2019, the Court entered an Order [ECF No. 10370] (the “Order”)

indicating that the NFL withdrew its appeal “with regard to the ‘generally consistent’ standard in

connection with a Qualified MAF Physician’s diagnosis departing from the BAP diagnostic

criteria” and cancelled the hearing on the NFL’s objection set for Thursday, January 10, 2019. See

ECF No. 10370.
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       2.      On the same day, the Court entered another order [ECF No. 10371] denying two

Motions for Clarification and Leave to Participate [ECF Nos. 10364 and 10365] as moot due to

the NFL Parties’ withdrawal of their appeal. See ECF No. 10371. The undersigned counsel filed

one of the motions requesting to be heard to illustrate the powerful impact any change to the

“generally consistent” standard will have on the Settlement Agreement. See ECF No. 10365.

       3.      In addition, the Court apparently sua sponte ordered that the Claims Administrator

However, there are certain facts and circumstances that the Court was likely not aware when the

Order was entered which weigh heavily on the fair administration of justice, impact Class

Members and which should impact the Court’s analysis.

       Legal Standard

       4.      Movants acknowledge that the Order is not a judgment or final order, and requests

that the Court take up the Motion to Reconsider under the standard of Federal Rule of Civil

Procedure 59(e). Rule 59(e) provides that a party may file a motion within ten days of the entry

of a judgment requesting that the court alter or amend the judgment. Fed. R. Civ. P. 59(e). “A

proper Rule 59(e) motion must be based on either an intervening change in controlling law, the

availability of new or previously unavailable evidence, or the need to correct clear error or prevent

manifest injustice.” See North River Ins. Co. v. CIGNA Reinsurance Co., 52 F.3d 1194, 1218 (3d

Cir. 1995). Movants request that the Court consider the facts and prevent manifest injustice as

grounds to support the Motion for Reconsideration.

       5.      In the alternative, Movants request that the Court grant relief under the broad reach

of Rule 60(b)(6), which allows the Court to grant relief sua sponte for “any other reason justifying

relief from the operation of the judgment.” Fed. R. Civ. P. 60(b)(6). Specifically, to prevent

amendment of the Settlement Agreement without proper notice to the Class and opportunity to be
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heard.



         Basis for Granting Relief Requested

         6.    First, the hearing was supposed to be limited to the eight SPIDs, who have awards

that were objected to. The scope of the argument was that a doctor who is a BAP and an MAF

had to follow the BAP standard if the BAP testing protocol resulted in the patient not receiving a

qualifying diagnosis. In other words, the MAF doctor who was not hired as a BAP doctor would

be prohibited from using the generally consistent standard to give the patient a qualifying diagnosis

as an MAF. However, the Court’s ruling has a much broader reach affecting the generally

consistent standard involving all MAF doctors, not just the ones who are both BAP and MAF

doctors or just the eight SPIDs.

         7.    In addition, the Generally Consistent Standard is not limited solely to post-effective

date MAF Claims. Any determination regarding the application or definition of the Generally

Consistent Standard will affect all Claimants who received a Qualifying Diagnosis other than

through the BAP. As such, pre-effective date claims are similarly affected by any determination

of what Generally Consistent means and how it is applied. Simply stating that Generally

Consistent means that something is more alike than not alike not only fails to account for the

nuances and complexity of dementia in any meaningful way, but also creates a wholly subjective

standard regarding the analysis by which criteria is determined to be alike (or not alike).

         8.    Changes to the Generally Consistent Standard as proposed in the Order to be made

by the Claims Administrator amount to an amendment to the Settlement Agreement that alters

material rights, and any such amendment requires specific notice requirements and an opportunity
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to be heard1 as provided by the Federal Rules and applicable law. Requiring pre-existing

corroborating documentary evidence and reading “generally consistent with” to mean “exactly the

same as” BAP requirements significantly narrowes, and for some class members, eliminates a path

to qualify for a Monetary Award. By creating additional proof standards affected Class Members

will lose their ability to prove a Claim. Moreover, this exact issue was raised in In re Deepwater

Horizon, 858 F.3d 298 (5th Cir. 2017) (attached as Exhibit B). In BP, the claims administrator

was charged with administering claims relative to the BP oil spill. Pursuant to the settlement

agreement, each claimant had the right to choose its own post-spill compensation period, as long

as it was a consecutive three-month period in 2010. See id. at 301. The claims administrator was

to use this post-spill compensation period and subtract it from the same pre-spill period to arrive

at the amount of damages owed to each claimant. Id. An issue arose, however, because not all

financial documents submitted showed income and expenses that occurred during the same

months. Id. Rather, sometimes income was received or expenses were incurred outside of the

three-measuring months, and this resulted in the claimed damages being inflated. Id. The Court

held that the claims administrator’s actions to “move, smooth, or otherwise reallocate revenue”

and ensure that “damages are awarded to those who have suffered real losses” was improper:



1 See In re Diet Drugs, Sales Practices & Prods. Liab. Litig. MDL 1203, 226 F.Supp.2d 498 (E.D. Pa. March 15,
2005) (“Reasonable notice combined with an opportunity to be heard and withdraw from the class satisfy the due
process requirements of the Fifth Amendment. … In addition, in a settlement class maintained under Rule 23(b)(3),
class notice must meet the requirements of both Federal Rules of Civil Procedure 23(c)(2) and 23(e). Under Rule
23(c)(2), notice to the class must be “the best practicable notice under the circumstances, including individual notice
to all members who can be identified through reasonable effort. The Rule also requires that the notice indicate an
opportunity to opt out, that the judgment will bind all class members who do not opt out and that any member who
does not opt out may appear through counsel. Rule 23(e) requires that notice of a proposed settlement must inform
class members: (1) of the nature of the pending litigation; (2) of the settlement’s general terms; (3) that complete
information is available from the court files; and (4) that any class member may appear and be heard at the Fairness
Hearing [citations omitted]”). See also In re Diet Drugs Prods. Liability Litig., No. 99–20593, 2010 WL 2735414,
at *6 (E.D.Pa. July 2, 2010) (in MDL where notice of Tenth Amendment to Settlement Agreement and opportunity
to object was provided to class, Court approved amendment as fair, adequate and reasonable); In re Baby Prods.
Antitrust Litig., 708 F.3d 163, 175 n. 10, 182 (3d Cir.2013) (held, among other things, that “supplemental notice
should be provided to the class if the settlement is materially altered on remand”).
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       This may well be a fairer alternative. But it cannot be implemented, because it is
       inconsistent with the plain text of the Settlement Agreement.

       See id. at 303.

       9.      Allowing the NFL, AAP or Claims Administrator to rewrite or implement the

Settlement Agreement without seeking or gaining the approval of the Claimants, in a manner

which was “not the agreement that the parties entered into” is the same issue addressed by the BP

Court. Accordingly, the Court should refuse to “re-write the settlement agreement.” Id. at 304.

       10.     Movants respectfully request that the Court reconsider its Order since any

determinations regarding the Generally Consistent Standard are so broad in reach and will affect

Retired NFL Players who are being represented in their individual claims by IRPAs.

       Dated: January 22, 2019

                                                    Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on January 22, 2019, the foregoing document was electronically filed
with the United States District Court for the Eastern District of Pennsylvania via the Court’s
CM/ECF system, and that the filing is available for downloading and viewing from the electronic
court filing system by counsel for all parties.

                                            MGS LAW, P.A.

                                            s/ Michael St. Jacques
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                           MICHAEL G. ST. JACQUES, II
